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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION


 UNITED STATES OF AMERICA                         §

 Vs.                                              §          CRIM. ACTION NO. 6:12CR88(1)

 BILLIE EARL JOHNSON                              §



                           REPORT AND RECOMMENDATION
                      OF THE UNITED STATES MAGISTRATE JUDGE


          This Report and Recommendation       is submitted to the Court pursuant to 28 U.S.C. §

 636(b)(3). This case has been referred by the Honorable Leonard Davis to the undersigned

 Magistrate Judge for the taking of a felony guilty plea. The parties have consented to the

 administration of guilty plea and Fed.R.Crim.P. 11 allocution by a United States Magistrate

 Judge.

          On August 27, 2013, Defendant and counsel appeared before the undersigned, who

 addressed Defendant personally in open court and informed Defendant of, and determined that

 Defendant understood, the admonishments under Rule 11 of the Federal Rules of Criminal

 Procedure. Pursuant to a plea bargain agreement with the Government, Defendant pled guilty to

 Count 1 of the Indictment. After conducting the proceeding in the form and manner prescribed

 by Fed.R.Crim.P. 11, the undersigned finds:

          1. Defendant, with the advice of his attorney, has consented orally and in writing to
             enter his guilty plea before a Magistrate Judge subject to final approval and
             sentencing by the presiding District Judge;

          2. Defendant fully understands the nature of the charges and penalties;

          3. Defendant fully understands the terms of the plea agreement;


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           4. Defendant understands his constitutional and statutory rights and wishes to waive
              these rights, including the right to a trial by jury and the right to appear before a
              United States District Judge to enter this plea of guilty;

           5. Defendant’s plea is made freely and voluntarily;

           6. Defendant is competent to enter this plea of guilty;

           7. There is a factual basis for this plea; and

           8. The ends of justice will be served by acceptance of Defendant’s plea of guilty.

                                            Recommendation

           It is therefore RECOMMENDED that the District Judge accept the plea of guilty and

 enter a final judgment of guilty against Defendant. It is further RECOMMENDED that the plea

 agreement be approved conditioned upon a review of the presentence report.

           Before the conclusion of the hearing, the undersigned announced the foregoing

 recommendation and notified Defendant of his right to object to this Report and

 Recommendation. Defendant waived that right in open court. The Government also waived its

 right to object to the Report and Recommendation. It is, therefore, recommended that the Court

 enter an order accepting the plea of guilty, approving the plea agreement and finding Defendant

 guilty.


             So ORDERED and SIGNED this 27th day of August, 2013.




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